Case 2:07-cr-20076-RHC-RSW ECF No. 479, PageID.1920 Filed 09/08/14 Page 1 of 4




                          UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION


 UNITED STATES OF AMERICA,

        Plaintiff,

 v.                                                      Case No. 07-20076-16

 MARLIN MORTON,

        Defendant.
                                                 /

    OPINION AND ORDER NOTIFYING DEFENDANT OF INTENT TO CONSTRUE
  “MOTION UNDER THE ALL WRITS ACT” AS A MOTION UNDER 28 U.S.C. § 2255

        On August 26, 2014, Defendant Marlin Morton, pro se, filed a motion seeking

 relief under the All Writs Act, 28 U.S.C. § 1651, for ineffective assistance of his trial

 counsel during two criminal proceedings. For the reasons stated below, the court

 intends to construe Defendant’s motion as one for relief from judgment under 28 U.S.C.

 § 2255.

        As a threshold matter, the court notes that Defendant appears to raise two sets

 of ineffective assistance of counsel claims—the first challenges his counsel’s assistance

 in United States v. Morton, No. 07-20069, in which Defendant pled guilty to being a

 felon in possession of a firearm, 18 U.S.C. § 922(g)(1), before the Honorable Gerald

 Rosen (hereinafter, “the related case”). The second set of ineffective assistance of

 counsel challenges concerns his guilty plea to conspiracy to possess with intent to

 distribute crack cocaine, 21 U.S.C. §§ 841(a)(1); 846, in which this court sentenced him

 to 37 months’ imprisonment, to be served consecutively to the sentence imposed in the

 above-mentioned case. To the extent Defendant attempts to raise before this court
Case 2:07-cr-20076-RHC-RSW ECF No. 479, PageID.1921 Filed 09/08/14 Page 2 of 4




 issues concerning the related criminal case, nothing in this opinion (or any other order

 by the court) will be construed as commenting on the merits of Defendant’s related

 criminal case. Morever, Defendant should be aware that this court will only review

 challenges as to case number 07-20076. This court knows of no jurisdiction or ability to

 review the sentence imposed in the related criminal case.

                                    I. BACKGROUND

        On November 7, 2007, the court accepted Defendant’s guilty. On March 13,

 2008, the court sentenced Defendant to 37 months’ imprisonment, to be served

 consecutively to the sentence imposed in United States v. Morton, No. 07-20069. He

 did not appeal. Approximately six years later, he filed the instant motion asking that his

 conviction and sentence be vacated for ineffective assistance of counsel. Specifically,

 Defendant argues that his trial counsel was ineffective for not objecting to “the scale of

 crack cocaine for the marijuana he was arrested and plead guilty to.” Defendant also

 claims that he was entitled to a two-point sentencing reduction under 18 U.S.C. § 3582,

 and that counsel was ineffective for not investigating whether he was read his rights

 pursuant to Miranda v. Arizona, 384 U.S. 436 (1966), and for not investigating whether

 he was properly indicted before a grand jury.

                                      II. DISCUSSION

        Under 28 U.S.C. § 2255, a prisoner in custody under sentence of a federal court

 may “move the court which imposed the sentence to vacate, set aside or correct the

 sentence” when “the sentence was imposed in violation of the Constitution or laws of

 the United States, or . . . the court was without jurisdiction to impose such sentence, or

 . . . the sentence was in excess of the maximum authorized by law, or is otherwise

                                              2
Case 2:07-cr-20076-RHC-RSW ECF No. 479, PageID.1922 Filed 09/08/14 Page 3 of 4




 subject to collateral attack.” 28 U.S.C. § 2255. Such motion, however, must

 demonstrate “the existence of a fundamental defect which inherently results in a

 complete miscarriage of justice, or an omission inconsistent with the rudimentary

 demands of fair procedure” in order for relief to be obtained. United States v. Todaro,

 982 F.2d 1025, 1030 (6th Cir. 1993) (citing Hill v. United States, 368 U.S. 424, 428

 (1962)).

        Although Defendant does not specifically refer to § 2255 in his motion, the relief

 requested is consistent with a motion to vacate sentence under § 2255. Before

 characterizing Defendant’s filing as a § 2255 motion, however, Defendant must be given

 the opportunity to withdraw his motion. See In re Shelton, 295 F.3d 620, 622 (6th Cir.

 2002). This is typically because “[a]n unintended byproduct of [liberally construing pro

 se filings as § 2255 petitions] . . . is that it may effectively deprive an uninformed pro se

 litigant of the future opportunity to file a motion to vacate his sentence under § 2255.”

 Id. at 621. After Defendant files one motion under § 2255, the Antiterrorism and

 Effective Death Penalty Act prevents him from filing a second or successive § 2255

 motion unless the motion involves “newly discovered evidence” or “a new rule of

 constitutional law . . . that was previously unavailable.” 28 U.S.C. § 2255(h). Thus,

 Defendant must be aware that the court’s construction of his motion may limit his ability

 to pursue future avenues of collateral relief and must be given the opportunity to agree

 with the court’s construction or withdraw the motion.

                                      III. CONCLUSION

        IT IS ORDERED that Defendant is hereby NOTIFIED that the court intends to

 construe his “Motion Under the All Writs Act” (Dkt. # 378) as a motion for relief under 28

                                               3
Case 2:07-cr-20076-RHC-RSW ECF No. 479, PageID.1923 Filed 09/08/14 Page 4 of 4




 U.S.C. § 2255. By September 26, 2014, Defendant may either withdraw the motion,

 file an amended motion under § 2255, or file a “Notice of Agreement” with the court’s

 characterization.

           Unless Defendant withdraws the motion IT IS ORDERED that the government

 shall respond to the motion or amended motion by October 10, 2014. Any optional

 reply shall be due by October 24, 2014.


                                                                 s/Robert H. Cleland
                                                                ROBERT H. CLELAND
                                                                UNITED STATES DISTRICT JUDGE

 Dated: September 8, 2014


 I hereby certify that a copy of the foregoing document was mailed to counsel of record
 on this date, September 8, 2014, by electronic and/or ordinary mail.

                                                                 s/Lisa Wagner
                                                                Case Manager and Deputy Clerk
                                                                (313) 234-5522




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